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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

TONCA WATTERS,                                      )
TERENCE WATTERS,                                    )
                                                    )
                             Plaintiffs,            )
                                                    )
                        v.                          )       No. 1:18-cv-00270-MPB-JMS
                                                    )
HOMEOWNERS ASSOCIATION AT THE                       )
PRESERVE AT BRIDGEWATER,                            )
EDWARD MAMARIL,                                     )
KATHRYN MAMARIL,                                    )
ROBERT DINN,                                        )
CHERILYN SHOOK,                                     )
RANDY LINDGREN,                                     )
DAVID BARBER,                                       )
CHRIS MONROE,                                       )
MIKE ULLERY,                                        )
                                                    )
                             Defendants.            )

                   ORDER DIRECTING CLERK TO REOPEN CASE AND
                    FOR LOCAL RULE 16-2 POSITION STATEMENTS

        The Court received the Seventh Circuit Court of Appeals’ Mandate on October 4, 2022.

 Accordingly, the Clerk shall reopen this case on the Court’s docket, and the parties are directed to

 file their Local Rule 16-2 position statements on or before October 25, 2022.

        IT IS SO ORDERED.

        Date: October 4, 2022




        Distributed electronically to ECF registered counsel of record.
